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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Susan Phillips, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 16, 2024:


         MINUTE entry before the Honorable Andrea R. Wood: The Court sets the
following briefing schedule on Plaintiffs' motion to lift or modify the stay [39]. Defendant
shall file a response by 7/30/2024. Plaintiffs shall file a reply by 8/6/2024. Telephonic
status hearing set for 8/14/2024 at 10:00 AM. To ensure public access to court
proceedings, members of the public and media may call in to listen to telephonic hearings.
The call−in number is (888) 557−8511 and the access code is 3547847. Counsel of record
will receive an email 30 minutes prior to the start of the telephonic hearing with
instructions to join the call. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court−issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice (lma, )




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